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                                                                                    Page 1
                       UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            GAINESVILLE DIVISION
        _______________________________________
        FAIR FIGHT, INC., SCOTT BERSON,                               )
        JOCELYN HEREDIA, AND JANE DOE,                                )
                                                  PLAINTIFFS, )
                                                                      )
                               v.                                     )CASE NO.
                                                                      )220-CV-00302-SCJ
        TRUE THE VOTE, INC., CATHERINE                                )
        ENGELBRECHT, DEREK SOMERVILLE,                                )
        MARK DAVIS, MARK WILLIAMS,                                    )
        RON JOHNSON, JAMES COOPER, AND                                )
        JOHN DOES 1-10,                                               )
                                                DEFENDANTS.           )
        _______________________________________)


               VIDEOTAPED DEPOSITION OF AMY HOLSWORTH
               TAKEN REMOTELY VIA ZOOM VIDEOCONFERENCE
                        WEDNESDAY, JANUARY 12, 2022



              Reported by Audra E. Cramer, CSR No. 9901



        __________________________________________________
                                 DIGITAL EVIDENCE GROUP
                           1730 M Street, NW, Suite 812
                               Washington, D.C. 20036
                                      (202) 232-0646



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   1            VIDEOTAPED DEPOSITION OF AMY HOLSWORTH,

   2     TAKEN REMOTELY VIA ZOOM ON BEHALF OF THE PLAINTIFFS,

   3     AT 9:27 A.M. CST, WEDNESDAY, JANUARY 12, 2022, BEFORE

   4     AUDRA E. CRAMER, CSR NO. 9901, PURSUANT TO NOTICE.

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                                                                              Page 3
   1     APPEARANCES OF COUNSEL
   2     FOR PLAINTIFFS:
                   ELIAS LAW GROUP
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 17
 18      ALSO PRESENT:
 19                HENRY MARTE, VIDEOGRAPHER/HOTSEATER
 20
 21
 22


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                                                                              Page 4
  1                                   I N D E X
  2     WITNESS
        AMY HOLSWORTH
  3
  4     EXAMINATION                                     PAGE
        BY MR. SHELLY                                        6
  5     BY MS. SIEBERT                                      90
  6
  7                              E X H I B I T S
  8     NO.               PAGE             DESCRIPTION
  9     Exhibit 1         11               NOTICE OF DEPOSITION
 10     Exhibit 2         16               PRESS RELEASE LABELED
                                           EXHIBIT 3
 11     Exhibit 3         29               PRESS RELEASE LABELED
                                           EXHIBIT 4
 12     Exhibit 4         34               PRESS RELEASE LABELED
                                           EXHIBIT 1
 13     Exhibit 5         38               EMAIL CHAIN DEF WILLIAMS
                                           0303
 14     Exhibit 6         58               EMAIL CHAIN DEF WILLIAMS
                                           0759 THRU 0780
 15     Exhibit 7         63               EMAIL CHAIN DEF TTV 1443
 16     Exhibit 8         72               SPREADSHEET "TTV CHALLENGER
                                           IDENTITIES" (NATIVE)
 17
 18
 19            REPORTER'S NOTE:            All quotations from exhibits are
 20     reflected in the manner in which they were read into the
 21     record and do not necessarily indicate an exact quote
 22     from the document.



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   1                 REMOTELY VIA ZOOM VIDEOCONFERENCE

   2         WEDNESDAY, JANUARY 12, 2022, 9:27 A.M. CST

   3

   4                  THE VIDEOGRAPHER:                Okay.       We are now on

   5     the record.         My name is Henry Marte, the

   6     videographer on behalf of Digital Evidence

   7     Group.      Today's date is January 12, 2022, and

   8     the time is 9:27 a.m.

   9                  This deposition is being held by remote

 10      Zoom in the matter of Fair Fight, Inc., et al.

 11      versus True the Vote.                The deponent today is Amy

 12      Holsworth.

 13                   All parties to this deposition are

 14      appearing remotely and have agreed to the

 15      witness being sworn in remotely.

 16                   Will counsel please identify themselves

 17      for the record, after which the court reporter

 18      will administer the oath to the witness.

 19                   MR. SHELLY:           I'm Jacob Shelly with

 20      Elias Law Group on behalf of the Plaintiffs.

 21                   MS. BRYAN:          I'm Leslie Bryan,

 22      Lawrence & Bundy, on behalf of Plaintiffs.



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                                                                                   Page 6
   1                  MS. MENG:         I'm Tina Meng on behalf of

   2     the Plaintiffs, with Elias Law Group as well.

   3                  MR. RAMIREZ:            Joel Ramirez on behalf of

   4     Plaintiffs, with Elias Law Group.

   5                  MS. SIEBERT:            Melena Siebert on behalf

   6     of Defendants, with the Bopp law firm.

   7

   8                               AMY HOLSWORTH,

   9                 having been first duly sworn, was

 10                 examined and testified as follows:

 11

 12                                    EXAMINATION

 13      BY MR. SHELLY:

 14            Q.     Good morning, Ms. Holsworth.                         I'm Jacob

 15      Shelly, and I --

 16            A.     Jacob, I am so sorry.                   I have a phone

 17      call coming in that I have to take.                          It'll take,

 18      like, 30 seconds.

 19            Q.     That's fine.

 20            A.     I'm so sorry.

 21                   THE VIDEOGRAPHER:                Okay.       Let me take

 22      us off the record.



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                                                                                   Page 7
   1                  The time is 9:28 a.m.                   Going off the

   2     record.

   3                     (Pause in the proceedings.)

   4                  THE VIDEOGRAPHER:                The time is

   5     9:30 a.m.       We are back on the record.

   6     BY MR. SHELLY:

   7           Q.     Good morning, Ms. Holsworth.                         I'm Jacob

   8     Shelly, and I represent plaintiffs in this case.

   9                  Can you repeat your full name for the

 10      record.

 11            A.     Amy Holsworth.

 12            Q.     And will you state your address for the

 13      record.

 14            A.     9131 Monarch Mist Lane, Houston, Texas

 15      77070.

 16            Q.     And is that where you are right now?

 17            A.     Correct.

 18            Q.     Have you ever been deposed before?

 19            A.     Yes.

 20            Q.     How many times?

 21            A.     I don't recall.              Several.

 22            Q.     In what kinds of cases?



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                                                                              Page 8
   1           A.     Divorce.

   2           Q.     And when was that, if I may ask?

   3           A.     Starting 2012 to about 2016, '17.

   4           Q.     Okay.      Have you ever been deposed on a

   5     web platform before like this?

   6           A.     No, sir.

   7           Q.     Okay.      It's mostly the same but a

   8     little bit different.                So I'd like to go over a

   9     few of the ground rules so we all have the same

 10      understanding.

 11                   All testimony today is under oath just

 12      as if you were testifying in court.

 13                   Does that make sense?

 14            A.     Yes, sir.

 15            Q.     If at any point you do not understand a

 16      question that I'm asking, will you please let me

 17      know?

 18            A.     Yes, sir.

 19            Q.     And I'll do my best to rephrase or

 20      otherwise clarify.

 21                   If you do answer a question, I'll

 22      assume you understand it.



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                                                                              Page 9
   1                  Is that fair?

   2           A.     Yes, sir.

   3           Q.     If at any time you would like to take a

   4     break, please let me know, and I'll try to find

   5     a good place to stop, and we can go off the

   6     record for a few minutes.                   The only exception is

   7     that if I've asked a question, I would like you

   8     to answer it before we take the break.

   9                  Does that sound good?

 10            A.     Yes, sir.

 11            Q.     In this deposition, just like any

 12      other, the court reporter will be recording my

 13      questions and your answers.                    The court reporter

 14      can only record verbal answers, so please answer

 15      with an audible yes or no instead of a head

 16      shake.

 17                   Does that sound good?

 18            A.     Yes.

 19            Q.     And please wait until I finish asking

 20      my question before you begin answering so that

 21      we're not talking over each other.

 22                   Agreed?



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                                                                             Page 10
   1           A.     Yes.

   2           Q.     For the record, can you explain how

   3     you're viewing this deposition?

   4                  I understand you're viewing it by phone

   5     and by laptop.

   6           A.     Yes, sir.

   7           Q.     Okay.      Do you have any documents with

   8     you, either hard copies or electronic?

   9           A.     No, sir.

 10            Q.     Is anyone else in the room with you?

 11            A.     No, sir.

 12            Q.     Because we are taking your deposition

 13      remotely, I may not always be able to see what

 14      you have in front of you or who may enter the

 15      room while you're testifying.

 16                   Do you understand that it would not be

 17      appropriate for anyone to tell you how to answer

 18      a particular question that I ask?

 19            A.     Yes, sir.

 20            Q.     And do you agree that while you are

 21      testifying today, you will not exchange

 22      communications, whether by text, email or other



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                                                                                Page 11
   1     messaging, about how to answer the questions

   2     that I ask?

   3           A.     Yes, sir.

   4           Q.     What did you do to prepare for today's

   5     deposition?

   6           A.     Spoke with Ms. Siebert yesterday for an

   7     hour about rules of the deposition.

   8           Q.     Did you have any conversations with any

   9     of the Defendants in this case regarding the

 10      deposition?

 11            A.     No.

 12                   MR. SHELLY:           All right.           Let's test out

 13      the screening sharing.

 14                   Henry, can you pull up Exhibit A and

 15      mark it as Exhibit 1.

 16                              (Whereupon, Exhibit 1 was

 17                      marked for identification.)

 18                   THE WITNESS:            May I correct?

 19                   I believe Catherine called me at some

 20      point and said that [garbled].

 21                   (The reporter requested clarification.)

 22                   THE WITNESS:            Yes.      I'm sorry.         Let me



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                                                                               Page 12
   1     correct.

   2                  I think at some point when this

   3     started, I think Catherine had called me and

   4     said that I would be depositioned.                          That's the

   5     only communication we had.                    So I just wanted to

   6     correct that.

   7     BY MR. SHELLY:

   8           Q.     Approximately when was that?

   9           A.     You know, I don't really recall.

 10            Q.     Like, in the past few weeks or several

 11      months ago?

 12            A.     Maybe several months.

 13            Q.     Okay.      Are you able to see this exhibit

 14      on the screen?

 15            A.     Yes, sir.

 16            Q.     Do you recognize this document?

 17            A.     Yes, sir.

 18            Q.     This is the deposition notice for this

 19      morning.

 20                   Are you prepared to testify today?

 21            A.     Yes, sir.

 22            Q.     Okay.      Great.



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                                                                             Page 13
   1                  Henry, you can take that down.

   2                  And I'd like to start with a few

   3     background questions about yourself,

   4     Ms. Holsworth.

   5                  What is your current job?

   6           A.     Consulting.           Independent contracting.

   7           Q.     Okay.      And how long have you been in

   8     that position?

   9           A.     I've been doing it several years.

 10            Q.     Okay.      And who are some of your clients

 11      that you consult for?

 12            A.     Some political clients.                    I just started

 13      for a law firm that I'm starting tomorrow or the

 14      next day that I start.                 So...

 15            Q.     Congratulations.

 16            A.     Thank you.

 17            Q.     Do you currently work for True the

 18      Vote?

 19            A.     No, sir.

 20            Q.     Have you are previously worked for

 21      True the Vote?

 22            A.     Yes, sir.



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                                                                             Page 14
   1           Q.     And was that in your position as a

   2     consultant, or was that different?

   3           A.     No.     Contracting.

   4           Q.     Contracting.            Sorry.

   5                  You worked for them as a contractor?

   6           A.     Yes, sir.

   7           Q.     Okay.      And do you still -- are you

   8     still under contract with them?

   9           A.     No, sir.

 10            Q.     Okay.      When did your contract for work

 11      with them begin and end?

 12            A.     Started, I believe, September --

 13      October or September of 20- -- let me see.                        Was

 14      it 2020?       And then ended, I believe, in June of

 15      this year or July, I believe.

 16            Q.     Of 2021 I assume you mean?

 17            A.     Yeah, I'm sorry.               Yeah, 2021.

 18            Q.     I still write the wrong date.

 19                   MS. SIEBERT:            None of us are used to it

 20      being a new date yet.

 21      BY MR. SHELLY:

 22            Q.     Okay.      And how did you come to work for



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                                                                             Page 15
   1     True the Vote in that position?

   2           A.     I believe somebody who was working with

   3     them had recommended -- I think Catherine was

   4     looking for someone to fill that position, and

   5     they recommended me, and...

   6           Q.     And what kinds of tasks were you

   7     responsible for?

   8           A.     Mainly my job was the -- doing the

   9     voter -- the hotline, fielding calls for that

 10      when they came through.                 Also one of the

 11      things -- you know, collect data and information

 12      from other states about their voting laws and

 13      their updating laws and rules of, you know, the

 14      voting process.

 15            Q.     And who was your supervisor?

 16            A.     It was Catherine.

 17            Q.     Did she give you all your assignments?

 18            A.     Catherine did, and then at some point

 19      Mrs. Courtney Kramer.

 20            Q.     Is it that they both gave you

 21      assignments off and on or that for a while

 22      Ms. Engelbrecht gave you assignments and then at



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                                                                             Page 16
   1     some point you began to receive assignments from

   2     Ms. Kramer?

   3           A.     Mrs. -- Catherine at first, and then,

   4     you know, she hired an executive director,

   5     Mrs. Kramer, who then --

   6           Q.     Okay.      Do you recall approximately when

   7     that was?

   8           A.     Approximately February/March-ish maybe

   9     of 2021.

 10            Q.     Okay.      So during fall 2020 and winter,

 11      your assignments would have come from

 12      Ms. Catherine Engelbrecht?

 13            A.     Correct.

 14            Q.     You mentioned the hotline.

 15                   Henry, can you pull up Exhibit B and

 16      mark it as Exhibit 2.

 17                              (Whereupon, Exhibit 2 was

 18                      marked for identification.)

 19                   MR. SHELLY:           And can you scroll down.

 20            Q.     Are you familiar with this press

 21      release, Ms. Holsworth?

 22            A.     Yes.



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                                                                             Page 17
   1           Q.     This is a press release that True the

   2     Vote published announcing the Georgia election

   3     integrity hotline; is that right?

   4                  And feel free to ask if you need Henry

   5     to scroll down so you can see the whole thing.

   6                  THE WITNESS:            Yeah, can you please

   7     scroll down.         I apologize.

   8                  Can you scroll back up, please.

   9                  You know, I don't recall specifically

 10      if I saw that one.

 11      BY MR. SHELLY:

 12            Q.     Okay.      Do you know who drafted this?

 13            A.     No, sir.

 14            Q.     Did you assist in the creation of this

 15      press release?

 16            A.     No, sir.

 17                   MR. SHELLY:           Henry, you can take that

 18      down.

 19            Q.     Ms. Holsworth, when did you first hear

 20      the idea of a hotline discussed?

 21            A.     This would be the national hotline or

 22      the Georgia hotline?



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   1           Q.     Georgia.

   2           A.     The national hotline started when I

   3     came on, because they already had a hotline -- a

   4     hotline number, so it was already kind of in

   5     place for the general election.                       And, yeah, I

   6     don't recall exactly when -- it would be after

   7     the general election.                The Georgia election, I

   8     think it just kind of morphed over to that.

   9           Q.     Okay.      And why was the Georgia hotline

 10      created, if there was already a national

 11      hotline?

 12            A.     I don't recall.              I wasn't in on that.

 13      I don't know.

 14            Q.     Okay.      You understand that the hotlines

 15      were for the same kinds of information, or were

 16      they requesting different kinds of information?

 17            A.     Requesting the same type of

 18      information.

 19            Q.     Okay.      What were the reasons for

 20      providing the Georgia hotline?

 21            A.     I don't know.

 22            Q.     Did you ever hear discussions about the



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                                                                             Page 19
   1     reasons for the hotline from Ms. Engelbrecht?

   2           A.     No.

   3           Q.     Before the hotline was created, how

   4     could Georgia residents report unlawful election

   5     activity?

   6           A.     Several ways.             I mean, they could call

   7     our hotline; they could call their secretary of

   8     state; their local election officials.

   9           Q.     Because there were other methods,

 10      what's your understanding for why the hotline

 11      was necessary?

 12            A.     My opinion or my...

 13            Q.     Sure, yes, start with your personal

 14      understanding.

 15            A.     Yeah, I just believe it's good, you

 16      know, to promote, you know, people's right and

 17      ability to vote that they have, you know,

 18      multiple ways of connecting with somebody who

 19      was willing to help them with their issue and

 20      help them vote.

 21            Q.     Okay.      And did you ever have

 22      discussions about the hotline generally with



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                                                                                Page 20
   1     anyone affiliated with True the Vote?

   2           A.     We discussed them with Catherine and,

   3     you know, other -- maybe our comms person.                        I

   4     don't recall.          There were various.

   5           Q.     What's the name of the comms person?

   6           A.     Genevieve.

   7           Q.     Who staffed the hotline?

   8           A.     I don't know.

   9           Q.     Did I hear correctly that you said

 10      you -- that one of your tasks was to answer the

 11      hotline?

 12            A.     There was a company, I believe in

 13      Washington or somewhere, that actually fielded

 14      the calls, and then they were sent to me because

 15      of the volume.

 16            Q.     Do you know the name of that company?

 17            A.     No, sir.

 18            Q.     And when you say they were sent to you,

 19      can you tell me more about that.

 20                   They'd forward all the calls that the

 21      hotline received, and you would review them, or

 22      something different?



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   1           A.     I believe the process was they would --

   2     this is like a phone-banking situation, and then

   3     document the questions that they had or the

   4     issues that they wanted, and then they would

   5     send them to me.            Then I would look at them at

   6     that point.

   7           Q.     Okay.      So my understanding, you weren't

   8     necessarily listening to the calls, but you

   9     would review notes about the calls?

 10            A.     Correct.

 11            Q.     Okay.      How many calls did the hotline

 12      receive?

 13            A.     I believe in the end it was probably

 14      six or seven thousand.

 15            Q.     And when you say "at the end," how long

 16      was the Georgia hotline in operation?

 17            A.     Oh, we're talking specifically Georgia

 18      or --

 19            Q.     Sorry.

 20            A.     Yeah, I apologize.                You know, I have no

 21      idea actually correctly of how much the Georgia

 22      hotlines -- I don't know specifically.



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   1           Q.     Okay.      The six to seven thousand was

   2     for the national hotline?

   3           A.     I believe so, yes.

   4           Q.     Okay.      And was the same company in

   5     Washington handling both the national hotline

   6     and the Georgia hotline?

   7           A.     I believe so, yes.

   8           Q.     Okay.      And when they sent you the notes

   9     of these calls, were they -- was there a

 10      distinction between which hotline they were a

 11      part of, or were you just reviewing the notes of

 12      all the calls that came in to both hotlines?

 13            A.     Actually, there was just such a volume

 14      of calls coming -- you know, things coming to my

 15      attention that I didn't really differentiate

 16      which one it was.             I just opened them up and

 17      addressed whatever needed to be addressed.

 18      So...

 19            Q.     Okay.      Did True the Vote operate other

 20      hotlines besides the national hotline and the

 21      Georgia hotline?

 22            A.     I don't know if they did.                      I don't...



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                                                                                    Page 23
   1           Q.     Okay.      And what kinds of things did

   2     callers report?

   3           A.     There were a lot of calls.                      One of the

   4     major things would be, you know, they were

   5     worried about their, you know, loved ones maybe

   6     in a nursing facility, if they were being able

   7     to vote or not and that process.

   8                  There were people calling claiming that

   9     they had received multiple blots or receiving

 10      ballot applications or ballots in other areas

 11      that they had moved to another state or another

 12      voting locality, another, you know, county -- I

 13      mean county or city or whatever, and they were

 14      still receiving ballots -- you know, from one

 15      state or the other they were receiving both

 16      applications or ballots and things of that

 17      nature.

 18                   There were people that would call

 19      wanting to track their ballot by mail.                            They

 20      wanted to know what that process was and worried

 21      that it wasn't showing back up at the -- at

 22      the -- you know, at their election office to be



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                                                                               Page 24
   1     counted.       Things of that nature.

   2           Q.     How many instances of election fraud,

   3     manipulation or illegal activity did you

   4     identify through the hotline?

   5           A.     You know, I don't -- I don't think I

   6     can answer that, because, you know, I didn't

   7     make the determination whether it was one or the

   8     other; that it was just something that was maybe

   9     amiss that needed to be investigated further or

 10      helped with.

 11            Q.     So when you received these notes about

 12      the calls from the Washington company, what did

 13      you do with them after you reviewed the call

 14      notes you received?

 15            A.     Yes.

 16            Q.     So my question is what did you -- were

 17      you trying to -- did you -- sorry.                          Strike that.

 18      Trying to think of my question.

 19                   Did you pass along any of those call

 20      notes to anybody else at True the Vote?

 21            A.     Catherine.

 22            Q.     And did you pass along all the notes,



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                                                                             Page 25
   1     or you selected specific ones that she might be

   2     interested in?

   3           A.     At one point I passed along all of

   4     them.      But if there was something, I would pass

   5     on, you know, select ones.

   6           Q.     And what kinds of things were you

   7     looking for for the select ones to highlight?

   8           A.     You know, ones where people really were

   9     having an issue casting their ballot that it

 10      could be done correctly.                  And things that needed

 11      a -- because -- you know, a time, because there

 12      was such a pressed time it needed to be done,

 13      x amount.

 14                   So just those type of things and issues

 15      upon -- you know, if somebody had received, you

 16      know, two actual ballots or something and -- you

 17      know, I'd pass that along.

 18            Q.     Did you highlight any reports of

 19      illegal activity to Ms. Engelbrecht?

 20            A.     What are we calling -- I mean -- I

 21      mean, illegal as -- I mean, I don't think I can

 22      call it illegal.            But things that were you know



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                                                                              Page 26
   1     amiss, I would --

   2           Q.     Sorry.       I missed that last part.                Could

   3     you repeat it, please.

   4           A.     Yeah.      Things that were -- that seemed

   5     to be an issue with the voting process or that

   6     the voter was having an issue, I would highlight

   7     those.

   8                  As far as calling them illegal, I'm not

   9     a legal counsel or a prosecutor, so, you know --

 10            Q.     Okay.      Are there any instances of

 11      alleged voter fraud that you highlighted on

 12      these calls?

 13            A.     I don't -- I don't -- I would not call

 14      it myself voter fraud.                 I'm not an attorney or

 15      prosecutor.         That's something I think would have

 16      to be determined.             I mean, I did highlight

 17      issues that were things that voters were having

 18      an issue with.

 19            Q.     Okay.      So just to rephrase to make sure

 20      that I'm understanding correctly, the things

 21      that you would highlight on this calls from the

 22      hotline were voters who needed assistance voting



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                                                                             Page 27
   1     or for clarity about how to vote, not --

   2           A.     And the issues where there were things

   3     that were brought to our attention from the

   4     voters that, you know, things were amiss, like,

   5     you know, maybe double ballots or, you know,

   6     receiving information or receiving a ballot from

   7     a previous address or instances where they now

   8     lived at an address and were registered voters

   9     and they were receiving election information,

 10      ballot information, what have you, of previous

 11      people that had lived there and had since, you

 12      know, moved for several years.

 13            Q.     Okay.

 14            A.     No longer residing.

 15            Q.     Okay.      Just to confirm one more time,

 16      my understanding is that you did not -- do not

 17      recall any calls from the hotline or pass any

 18      calls along to Ms. Engelbrecht that reported --

 19      where the caller reported somebody else

 20      potentially participating in illegal election

 21      activity; is that correct?

 22                   MS. SIEBERT:            I'm going to object to



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                                                                                Page 28
   1     this.      Asked and answered.

   2                  MR. SHELLY:           Okay.

   3                  MS. SIEBERT:            But go ahead and answer,

   4     Amy.

   5                  THE WITNESS:            Go ahead.          I'm sorry.

   6     BY MR. SHELLY:

   7           Q.     Just to confirm, I'm not asking you to

   8     make a judgment about whether it was against the

   9     law or not.         I'm just trying to get a whole

 10      picture of the kinds of things that were passed

 11      along.

 12            A.     Well, you know, things were passed

 13      along that could be, you know, fraud -- you

 14      know, fraud; that were issues that would be

 15      fraud if it was found, you know, to be fraud.

 16            Q.     Okay.      Okay.        And how many instances of

 17      those were there?

 18            A.     I don't recall.

 19            Q.     Can you give me the approximate range

 20      that would include the number?

 21            A.     I really don't recall.

 22            Q.     Can you tell me more or less than 10?



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                                                                                      Page 29
   1           A.     More.

   2           Q.     Can you tell me more or less than 100?

   3           A.     I believe there's more than that.

   4           Q.     Okay.      And once you passed those

   5     allegations to Ms. Engelbrecht, what happened

   6     next?

   7           A.     Yeah, I don't know --

   8           Q.     Are you aware --

   9           A.     -- as far as what happened.

 10            Q.     Are you aware of whether any of those

 11      reports were -- True the Vote was ever able to

 12      confirmed that fraud was committed from these

 13      reports that were given to the hotline?

 14            A.     I don't know what happened.                          I don't

 15      know.

 16                   MR. SHELLY:           Okay.       Henry, can we pull

 17      up Exhibit C and mark it as Exhibit No. 3.

 18                              (Whereupon, Exhibit 3 was

 19                      marked for identification.)

 20                   MR. SHELLY:           And scroll down.

 21            Q.     This is another press release

 22      announcing the whistleblower compensation fund.



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                                                                             Page 30
   1                  Are you familiar with this press

   2     release, Ms. Holsworth?

   3                  THE WITNESS:            Would you mind scrolling

   4     down for me, please.

   5                  Yeah, I saw that one.

   6     BY MR. SHELLY:

   7           Q.     Do you know who drafted this press

   8     release?

   9           A.     No.

 10            Q.     Did you assist in the creation of the

 11      press release?

 12            A.     No, sir.

 13            Q.     When did you first hear the idea of a

 14      whistleblower compensation fund discussed?

 15            A.     I don't recall.

 16            Q.     Did you discuss the whistleblower

 17      compensation fund with anyone at True the Vote?

 18            A.     Yes.

 19            Q.     Who did you discuss it with?

 20                   And Henry, you can take this down.

 21      Thank you.

 22                   THE WITNESS:            I'm trying -- there was a



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                                                                             Page 31
   1     discussion, I believe, with maybe Catherine and

   2     the comms person, and I'm not recalling who else

   3     was on the line at the time.

   4     BY MR. SHELLY:

   5           Q.     And the comms person is the Genevieve

   6     you mentioned earlier; is that correct?

   7           A.     Correct.

   8           Q.     And besides who was on these calls, can

   9     you tell me what was discussed on these calls

 10      about the compensation fund?

 11            A.     I don't recall.

 12            Q.     Given that thousands of people were

 13      already calling into the hotline, why was an

 14      additional compensation fund necessary?

 15            A.     I don't know.

 16            Q.     You never heard any reasons for the

 17      compensation fund discussed by people affiliated

 18      with True the Vote?

 19            A.     No.

 20            Q.     How was the $1 million amount decided

 21      on?

 22            A.     I don't know.



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                                                                                      Page 32
   1           Q.     Where would the $1 million have come

   2     from?

   3           A.     I believe it was a donor.                      I don't

   4     know.      That's not an issue -- I was not in on --

   5     that was not -- I was not a part of that.

   6           Q.     Is it your understanding that a donor

   7     offered to specifically pay for the

   8     whistleblower compensation fund?

   9           A.     I don't know what he specifically --

 10      what that conversation was and what he

 11      specifically donated that money for.                              I don't

 12      know.

 13            Q.     And what was the name of that donor?

 14            A.     I don't know.

 15            Q.     How was the compensation fund

 16      advertised?

 17            A.     Things I personally saw or that I -- I

 18      mean, I -- you know, I guess it just went off on

 19      our website.         I don't -- I don't know exactly

 20      what all they did to advertise it.

 21            Q.     Okay.      So we saw the press release.

 22      Presumably the press release was put on the



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                                                                             Page 33
   1     website.

   2                  Do you know if it was sent to anybody

   3     else?

   4           A.     I don't know who it -- no, I don't

   5     know.

   6           Q.     Did reports of illegal activity

   7     increase after the fund was established?

   8           A.     I don't recall.

   9           Q.     How many instances of election fraud or

 10      illegal activity did True the Vote identify

 11      after the fund was established?

 12            A.     I don't know.

 13            Q.     Did anyone ever request a payout from

 14      the fund?

 15            A.     I don't know.

 16            Q.     Were any payouts from the fund ever

 17      made?

 18            A.     I don't know.

 19            Q.     Are you aware of any discussions that

 20      the fund would incentivize inaccurate reports?

 21            A.     I'm not aware of any of that.

 22            Q.     Okay.      I would like to ask a few



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                                                                             Page 34
   1     questions about the challenge list that True the

   2     Vote generated and submitted.

   3                  Henry, can you pull up Exhibit D and

   4     mark it as Exhibit 4.

   5                             (Whereupon, Exhibit 4 was

   6                     marked for identification.)

   7     BY MR. SHELLY:

   8           Q.     Are you familiar with this press

   9     release, Ms. Holsworth?

 10                   THE WITNESS:            Could you please scroll

 11      up, please.

 12                   Yes.

 13      BY MR. SHELLY:

 14            Q.     Do you know who drafted it?

 15            A.     No, sir.

 16            Q.     Did you assist in the creation of it?

 17            A.     No, sir.

 18                   MR. SHELLY:           You can take this down,

 19      Henry.      Thank you.

 20            Q.     Ms. Holsworth, when did you first hear

 21      the idea of voter challenges discussed?

 22            A.     I don't recall the date.



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                                                                             Page 35
   1           Q.     Can you tell me approximately?

   2           A.     No.     Actually, no.             I don't recall.

   3           Q.     Do you know if it was before or after

   4     the November 2020 election?

   5           A.     I don't recall.

   6           Q.     Who did you discuss the voter challenge

   7     program with at True the Vote?

   8           A.     With Catherine and whoever else was

   9     working at that time.

 10            Q.     Who else do you recall working at that

 11      time?

 12            A.     We had a person that was doing the

 13      emails.      I don't recall a name at the moment.

 14            Q.     And when you say "the person who was

 15      doing the emails," can you explain that.

 16            A.     Yeah.      I believe she had -- there

 17      were -- she would help sending out maybe the

 18      Constant Contact, I believe, for some of them.

 19      The newsletter, I think.

 20            Q.     And who was she sending that to?

 21            A.     Our subscribers --

 22            Q.     Okay.



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                                                                             Page 36
   1           A.     -- of True the Vote.

   2           Q.     Did you hear discussions at True the

   3     Vote about why the voter challenges were

   4     necessary?

   5           A.     Yes.

   6           Q.     And who did you have those discussions

   7     with?

   8           A.     With Catherine and -- yeah, Catherine.

   9           Q.     And what were the reasons given for why

 10      the voter challenges were necessary?

 11            A.     That there, you know, appeared to be

 12      issues with the voter roll and maybe about the

 13      accuracy of that.

 14            Q.     And do you know how the methodology to

 15      identify challenged voters was chosen?

 16            A.     I don't know.

 17            Q.     Do you know what methodology was used?

 18            A.     I don't know.

 19            Q.     Did you ever hear anyone affiliated

 20      with True the Vote raise questions or objections

 21      related to the accuracy of the methodology for

 22      the lists that were produced?



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                                                                               Page 37
   1           A.     No.

   2           Q.     Did you ever hear anyone not affiliated

   3     with True the Vote raise questions or objections

   4     about the methodology?

   5           A.     No.

   6           Q.     To your knowledge, who all reviewed the

   7     county challenge lists that True the Vote

   8     produced?

   9           A.     I'm sorry.          I don't -- the -- I'm

 10      sorry.      What is your question about the...

 11            Q.     Maybe just take a step back.

 12                   Am I correct that True the Vote

 13      produced lists of voters to be -- whose right to

 14      vote would be challenged?

 15            A.     Yes, sir.

 16            Q.     And my question is who all reviewed

 17      those lists?

 18            A.     I don't know who would review those at

 19      True the Vote.

 20                   MR. SHELLY:           Okay.       We've been going

 21      about an hour since the start time.                          I'm happy

 22      to keep going, because we started late, but if



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                                                                             Page 38
   1     you would like a break, this would be a good

   2     stopping point.

   3                  Would you like to take a break or keep

   4     going?

   5                  THE WITNESS:            We can just keep going, I

   6     guess.

   7                  MR. SHELLY:           Okay.       Ms. Siebert --

   8     okay.

   9                  Can we pull up Exhibit E and mark it as

 10      Exhibit 5.

 11                              (Whereupon, Exhibit 5 was

 12                      marked for identification.)

 13      BY MR. SHELLY:

 14            Q.     Ms. Holsworth, are you familiar with

 15      this email?

 16            A.     I apologize.            I don't know if I can --

 17      what does it say?

 18            Q.     This looks like an email sent from you

 19      on December 18, sharing a file called "Georgia

 20      Challenge List Approved as Per Cathy Latham."

 21                   Do you see that?

 22            A.     Yes.



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                                                                                 Page 39
   1           Q.     Who is Cathy Latham?

   2           A.     She is someone in Georgia.

   3           Q.     And what was her role with the

   4     challenge lists?

   5           A.     She is someone who had supplied a list

   6     of people that she thought would be -- to

   7     contact.

   8           Q.     Did I hear that correctly that

   9     Ms. Latham supplied a list to True the Vote of

 10      people to be challenged?

 11            A.     No.     I'm sorry.           I'm just -- I'm not

 12      understanding the question.                    I apologize.

 13            Q.     My question is what Ms. Cathy Latham's

 14      role with the Georgia challenge list was?

 15            A.     I don't -- I don't know.                     I mean...

 16            Q.     Okay.      Do you see that you sent this

 17      email to mark@printingtradeco.com?

 18            A.     Correct.

 19            Q.     And who is that at that email address?

 20            A.     Mark was the person that was printing

 21      out the hard copies -- the hard copies of the

 22      challenge letters for the -- the challengers.



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                                                                             Page 40
   1           Q.     And that's Mark Williams; is that

   2     right?

   3           A.     Not for the challengers, but the

   4     challenged -- yes.

   5           Q.     And did you say that's Mark Williams?

   6           A.     I believe that was his last name.

   7           Q.     Okay.      And so my understanding from

   8     this email is that Ms. Latham sent challenge

   9     lists to you that then you sent to Mr. Williams?

 10            A.     I'm -- by "challenge list," I don't

 11      understand what...

 12            Q.     I'm just reading that from this email.

 13                   Do you know what the Georgia challenge

 14      lists are that Cathy Latham approved?

 15            A.     In my memory -- I would have to see the

 16      actual -- what I sent.                 I don't recall what I

 17      was referring to at that point.

 18            Q.     Okay.      How was Ms. Latham affiliated

 19      with True the Vote?

 20            A.     I don't believe she is affiliated with

 21      True the Vote.

 22            Q.     How were you introduced to her?



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                                                                                  Page 41
   1           A.     I'm trying to recall.                   I don't really

   2     recall.

   3           Q.     Were you surprised to receive a

   4     challenge list from her that she approved?

   5           A.     I don't remember -- okay.                      I don't

   6     recall -- no, I was not.

   7           Q.     Okay.      Does that refresh your

   8     recollection about the role that she was

   9     playing?

 10            A.     Okay.      Can we back it up, and can we

 11      start the questions, you know, again?                             I'm kind

 12      of -- yeah.

 13            Q.     Sure.

 14                   So I understood you to say that you

 15      were not surprised to receive this challenge

 16      list that she approved, and so I'm wondering if

 17      you remember now what her role was.

 18            A.     I don't actually -- this is -- I don't

 19      actually know what her -- her, quote/unquote,

 20      role.      She would -- I believe she was somebody

 21      in Georgia that was interested in the voter

 22      challenges.         I don't know.



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                                                                             Page 42
   1           Q.     Did you provide Georgia challenge lists

   2     to her for her approval?

   3           A.     Can I have clarification on -- when you

   4     say "challenge list," are you referring to the

   5     people who were challenging the voter roll

   6     itself or the actual names of the people that

   7     were being challenged?

   8           Q.     I am just reading that from this email.

   9                  So I guess my question for you is which

 10      one would you understand that to refer to when

 11      it says "Georgia Challenge List Approved as Per

 12      Cathy Latham"?

 13            A.     I understand that to be the names of

 14      the people who had volunteered to challenge.

 15            Q.     Okay.      And why were they provided to

 16      Ms. Latham for her approval?

 17            A.     I don't recall.

 18            Q.     Did Ms. Latham review a list of all the

 19      volunteers who were going to submit challenges?

 20            A.     No.

 21            Q.     Which subset of the volunteers did she

 22      review?



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                                                                             Page 43
   1           A.     My recollection of the events were that

   2     she had provided personal -- people that she

   3     knew that were interested in doing the challenge

   4     and that had agreed to do it.

   5           Q.     Okay.      So it's your understanding that

   6     she created this list of volunteers herself and

   7     sent it to you, or was a preexisting list sent

   8     to her for her review --

   9           A.     I don't know.

 10            Q.     -- or something else?

 11            A.     I don't know.

 12            Q.     Were there any volunteers who

 13      Ms. Latham did not approve?

 14            A.     I believe that my heading is probably

 15      wrong on this.          I don't think she had -- she had

 16      no decision-making -- she did not approve our

 17      challengers, you know, who they were, who they

 18      were not.       She did not have any approval ability

 19      to do that.         That was not the process.

 20            Q.     Okay.      Then what's your understanding

 21      of why this file was called "Georgia Challenge

 22      List Approved as Per Cathy Latham"?



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                                                                             Page 44
   1           A.     I don't recall.

   2           Q.     Did anyone besides Ms. Latham review

   3     the list of volunteers?

   4           A.     I don't know.

   5                  MR. SHELLY:           Okay.       Henry, you can take

   6     this one down.

   7           Q.     Ms. Holsworth --

   8           A.     Can I --

   9           Q.     Sorry?

 10            A.     Can I have a break?

 11            Q.     Yeah.      Sure.

 12                   THE VIDEOGRAPHER:                The time is

 13      10:13 a.m.        Going off the record.

 14                                (Recess taken.)

 15                   THE VIDEOGRAPHER:                The time is

 16      10:22 a.m.        We are back on the record.

 17      BY MR. SHELLY:

 18            Q.     Ms. Holsworth, are you familiar with

 19      what I'm referring to when I refer to the

 20      True the Vote Georgia challenge list program?

 21            A.     Yes.

 22            Q.     Okay.      What was your role in that



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                                                                             Page 45
   1     challenge list program?

   2           A.     Take the people that wanted to

   3     challenge and make sure they had their -- you

   4     know, had agreed to it.                 So we wanted -- and

   5     then get the challenge lists together and send

   6     them to the county officials, the voting

   7     officials.

   8           Q.     For that first part, how did you decide

   9     which individuals to reach out to as potential

 10      challengers?

 11            A.     We had people that had called in and

 12      had agreed to or wanted to do that.

 13            Q.     They called in on the hotline, or was

 14      this a separate call-in?

 15            A.     I believe there was a -- I don't

 16      remember how they -- I don't recall.

 17            Q.     And am I understanding that the people

 18      reached out after the press release we just

 19      looked at; would that be correct?

 20            A.     I don't know what prompted them to

 21      reach out.

 22            Q.     Okay.      How many people, approximately,



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                                                                             Page 46
   1     reached out to you or True the Vote to

   2     participate in the program?

   3           A.     I don't recall.

   4           Q.     More or less than 50?

   5           A.     I don't recall.

   6           Q.     Did you reach out to any potential

   7     challengers who had not contacted True the Vote

   8     first to volunteer, or did you only use people

   9     who had affirmatively volunteered?

 10            A.     [Inaudible.]            I had reached out to

 11      [garbled].

 12            Q.     I think we lost part of your audio.

 13      Could you repeat that.

 14                   MS. SIEBERT:            Amy, I think they need

 15      you to repeat.

 16                   THE WITNESS:            Oh.      I thought somebody

 17      had popped in.

 18                   I'm sorry.          Can you repeat the

 19      question.

 20                   MR. SHELLY:           Audra, could you read it

 21      back.

 22



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                                                                             Page 47
   1                             (Record read as follows:

   2                             "Question:            Did you reach

   3                     out to any potential challengers

   4                     who had not contacted True the

   5                     Vote first to volunteer, or did

   6                     you only use people who had

   7                     affirmatively volunteered?")

   8                  THE WITNESS:            Thank you.

   9                  I had reached out to people that

 10      were -- that were suggested that may have

 11      some -- would like to do this.

 12      BY MR. SHELLY:

 13            Q.     And who did those suggestions come

 14      from?

 15            A.     I don't recall.

 16            Q.     Did Ms. Engelbrecht instruct you to

 17      reach out to certain individuals?

 18            A.     I don't recall.

 19            Q.     Did you receive these instructions to

 20      reach out by email or in person?

 21            A.     I don't recall.

 22            Q.     How many people were recommended for



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                                                                                Page 48
   1     you to reach out to?

   2           A.     I don't recall.

   3           Q.     Can you give me an estimate?

   4           A.     Sorry.       I can't.

   5           Q.     Approximately when did you reach out to

   6     these potential volunteers?

   7           A.     I don't recall.

   8           Q.     Do you know if it was before or after

   9     the November 2020 election?

 10            A.     I don't recall.

 11                   THE VIDEOGRAPHER:                Mr. Shelly, I don't

 12      know if it's your audio, but does everybody else

 13      hear that?

 14                   MR. SHELLY:           What do you hear?              Sorry.

 15                   THE VIDEOGRAPHER:                So it sounds like

 16      your audio is crackling.                  It's almost cracking,

 17      and we're losing a little bit.

 18                   Audra, are you picking that up as well?

 19                   MR. SHELLY:           I could try to find

 20      headphones.         Maybe would that help?

 21                   THE VIDEOGRAPHER:                Yeah, we can try

 22      that.



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                                                                             Page 49
   1                  (Discussion held off the record.)

   2                  THE VIDEOGRAPHER:                Let's go off the

   3     record?

   4                  MR. SHELLY:           All right.

   5                  THE VIDEOGRAPHER:                It's 10:28 a.m.

   6     Going off the record.

   7                               (Recess taken.)

   8                  THE VIDEOGRAPHER:                The time is

   9     10:39 a.m.        Back on the record.

 10      BY MR. SHELLY:

 11            Q.     Ms. Holsworth, did you reach out to any

 12      potential volunteers for the challenge program

 13      who declined to participate?

 14            A.     I don't recall.

 15            Q.     Of the individuals you reached out to,

 16      did anyone initially agree and then change their

 17      mind?

 18            A.     I believe there was perhaps one.

 19            Q.     And what did that person communicate to

 20      you?

 21            A.     I don't recall.

 22            Q.     What county was that person in?



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                                                                               Page 50
   1           A.     I don't recall.

   2           Q.     You don't have any recollection about

   3     why that person asked not to participate?

   4           A.     I don't have a specific recollection of

   5     why.

   6           Q.     Were they concerned about the

   7     methodology that was used?

   8           A.     I don't -- no, I don't recall -- no,

   9     that was not -- I don't recall why.                          I don't --

 10      yeah.

 11            Q.     Did any of the individuals you reached

 12      out to ask any questions about the methodology

 13      that was used to generate the challenge lists?

 14            A.     Yes, I -- you know, they did ask about

 15      the -- how that was generated.

 16            Q.     And what did you tell them?

 17            A.     I believe Catherine had either sent

 18      them something or had a -- I believe we had a

 19      Zoom call or something in which she explained

 20      the process from their end.

 21            Q.     Approximately how many of the

 22      volunteers raised questions about the



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                                                                                 Page 51
   1     methodology?

   2           A.     I don't recall.

   3           Q.     Can you tell me more or less than five?

   4           A.     I don't really recall.

   5           Q.     What information would you provide to

   6     challengers about who they would be challenging?

   7           A.     I'm sorry.          Can you repeat the

   8     question.

   9           Q.     What information did you provide to

 10      challengers about -- to the volunteers about who

 11      they would be challenging?

 12            A.     We provided them a list of the people

 13      that would be challenging their -- that they

 14      would be challenging, yes.

 15            Q.     Did you provide that list to all of the

 16      volunteers?

 17            A.     Everyone that had asked for it.                      I

 18      believe -- my recollection is I did send out

 19      that list to -- I believe I got all of them.                            I

 20      believe so.

 21            Q.     And did you send out those lists

 22      initially when they were ready or only after



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                                                                             Page 52
   1     people requested them?

   2           A.     You know, I don't -- I don't recall.

   3           Q.     Did any of the challengers

   4     affirmatively request a list of the people they

   5     would be challenging?

   6           A.     They all -- my understanding -- my

   7     recollection is they wanted to see them and --

   8     you know, because they wouldn't sign anything

   9     without, you know -- can you ask the question

 10      again.

 11                   Can you ask the question again, please.

 12            Q.     I think my question was did any of the

 13      challengers request a list of the names that

 14      they would be challenging?

 15            A.     I'm trying to remember the -- I believe

 16      when we -- when they -- because we did -- they

 17      all had a list, my recollection of that.

 18            Q.     Did you operate the email address

 19      gaelectorchallenge@truethevote.org?

 20            A.     I believe that one, yes.

 21            Q.     Who else had access to that email

 22      account?



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                                                                               Page 53
   1           A.     I don't recall.

   2           Q.     Did anyone else read or send emails

   3     from that account?

   4           A.     I don't recall.

   5           Q.     And what did you use this account for?

   6           A.     If I remember, I believe that's the one

   7     that we did the Georgia challenges on, I

   8     believe.

   9           Q.     Who would you have communicated with

 10      from that account?

 11            A.     The challenger, I guess.                     And the

 12      counties, I believe.

 13            Q.     Did you create a personal password for

 14      that account, or would other people have known

 15      the password?

 16            A.     I don't believe I -- that was not one I

 17      had a personal.           That was -- I'm trying to

 18      remember.       I don't recall.

 19            Q.     Did you ever receive correspondence or

 20      communications from any individuals who had been

 21      challenged?

 22            A.     From any that had been challenged?                     Any



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                                                                             Page 54
   1     voters?

   2           Q.     Right.

   3           A.     No.     I mean, not to my knowledge, no.

   4           Q.     How many counties did you submit

   5     challenges to?

   6           A.     I think it was -- I would have to

   7     guess.      I don't remember off the top of my head

   8     the exact number.

   9           Q.     A guess is fine.

 10            A.     Yeah.      I -- I wouldn't -- yeah, I don't

 11      recall.

 12            Q.     Was it all 159 counties in Georgia?

 13            A.     No.

 14            Q.     But more than 10?

 15            A.     Yes.

 16            Q.     Okay.      You don't remember with any more

 17      specificity than that?

 18            A.     It was quite a few.                 I don't recall,

 19      you know, exactly how many.

 20            Q.     How were these counties selected?

 21            A.     There wasn't, like, a selection

 22      process.       It was -- no, there wasn't a selection



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                                                                             Page 55
   1     process.

   2           Q.     Well, I understand you didn't submit to

   3     all the counties.

   4                  So how did you decide which counties to

   5     submit to?

   6           A.     It was a time issue, having somebody

   7     wanting a challenge and then do it, you know, in

   8     the timeframe that it had to be done.

   9           Q.     And what was the timeframe?

 10            A.     Well, I believe there's a -- you know,

 11      a specific time that this was to be done.

 12            Q.     So, for example, did Ms. Engelbrecht

 13      say that you had a certain window to get

 14      volunteers, then that window closed and you were

 15      done, or was there a different process?

 16            A.     I think -- no, not a window, per se,

 17      but I, you know, this was a -- yeah, I don't

 18      recall.

 19            Q.     After the initial batch of volunteers

 20      who reached out -- and I understand you

 21      affirmatively reached out to some other

 22      potential challengers -- well, first of all, let



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                                                                             Page 56
   1     me confirm that I understand that part right.

   2                  There was a group of people who reached

   3     out to True the Vote and asked to be volunteers,

   4     and then there were other people that were

   5     suggested to you to reach out to be volunteers;

   6     is that right?

   7           A.     I don't know how that process worked,

   8     other than what I did.                 I don't know who reached

   9     out to True the Vote and/or vice versa as far

 10      as -- as that pertains to.

 11            Q.     And what correspondence did you receive

 12      from counties after submitting the challenges?

 13            A.     There would be -- if it was received --

 14      if it was accepted or if there was going to

 15      be -- some of the counties would set up a

 16      hearing or -- some type of hearing about the

 17      challenges.

 18            Q.     Did you submit all the challenges on

 19      the same day, or were they sent out in batches?

 20            A.     They were sent out in batches.

 21            Q.     And how was the sequence decided?

 22            A.     There was not really a decision



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                                                                             Page 57
   1     process.       It was just when they were done and

   2     ready to go.

   3           Q.     Did you continue to send out challenges

   4     in later batches after challenges in previous

   5     batches had been denied?

   6           A.     I don't -- I can't recall when the

   7     denials came back from the -- and when we sent

   8     them out.       I don't know.

   9           Q.     When you solicited individuals to serve

 10      as challengers, how confident were you in the

 11      accuracy of the challenge lists?

 12            A.     I was very confident in the accuracy of

 13      the challenge lists.

 14            Q.     And what was that confidence based on?

 15            A.     Based on my personal knowledge of

 16      Ms. Engelbrecht's integrity and the process

 17      which she had said that they had gone through to

 18      verify that these were correct.

 19            Q.     And how would she explain -- how had

 20      she explained the verification process?

 21            A.     That it was multiple sources and data

 22      that they had -- my understanding, had done, and



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                                                                             Page 58
   1     I had complete confidence in Mrs. -- in

   2     Catherine's integrity and ability to do that.

   3           Q.     Did you think that every person on the

   4     challenge lists was ineligible to vote?

   5           A.     No.     I mean, I believe that when you

   6     challenge, it's not -- you're just challenging

   7     that there is a probable reason that needs to be

   8     looked at.

   9                  MR. SHELLY:           Henry, can we pull up

 10      Exhibit F and mark it as Exhibit 6.

 11                              (Whereupon, Exhibit 6 was

 12                      marked for identification.)

 13      BY MR. SHELLY:

 14            Q.     So this is a series of emails that were

 15      produced feel free to take a look to get your

 16      bearings.       I'm interested in the one that starts

 17      on page 2.

 18                   THE WITNESS:            Can you scroll down,

 19      please.

 20                   THE VIDEOGRAPHER:                Let me know when you

 21      want to go to the next page.

 22                   THE WITNESS:            Would you mind scrolling



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                                                                             Page 59
   1     down a little bit, please.

   2                  THE VIDEOGRAPHER:                I'm going to zoom in

   3     for you because I realize it's small front.

   4     Just let me know when you want to scroll down.

   5                  THE WITNESS:            Okay.       I appreciate that.

   6                  Can you scroll down a little bit,

   7     please.      That's fine.

   8     BY MR. SHELLY:

   9           Q.     I think this particular exhibit may go

 10      on for some pages, and you're welcome to get

 11      your bearings, but it's that email that we just

 12      looked at that I actually want to ask about.

 13            A.     Okay.

 14                   Can you scroll down a little bit.

 15                   Can you scroll down, please, a little

 16      bit.

 17                   That's fine.

 18                   Make it bigger.              Can you make it bigger

 19      on my screen, on -- yes.                  Thank you.

 20                   Okay.      Okay.        Can you scroll down a

 21      little bit I'm sorry.

 22                   Okay.      Okay.



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                                                                             Page 60
   1                  Okay.      I've read it.              Thank you.

   2                  MR. SHELLY:           Okay.       Can we go back up

   3     to that page 2 email.                I'm looking for the one

   4     that was sent on September 17, I think maybe

   5     right above this.

   6                  Yes.

   7           Q.     And you're familiar with this email,

   8     Ms. Holsworth?

   9           A.     Yes.      That looks familiar.

 10            Q.     This is an email from you on

 11      December 17 recruiting potential challengers; is

 12      that correct?

 13            A.     Yes.

 14            Q.     Did you compose this email yourself?

 15            A.     No.     Well -- no.

 16            Q.     Who composed it?

 17            A.     James had sent one out similar to

 18      that -- Cooper is his last name -- and I had

 19      taken parts of that and edited some things out.

 20      I don't recall what that was.

 21            Q.     Okay.      Did -- what was the process for

 22      deciding who Mr. Cooper would send this to and



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                                                                             Page 61
   1     who you would send it to?

   2           A.     We -- I had -- Ms. Latham had supplied

   3     a -- people that she had thought would be

   4     interested in doing that, and I sent those --

   5     this to those persons -- people on her list.

   6           Q.     Do you recall approximately how many

   7     people that was?

   8           A.     I don't recall.

   9                  MR. SHELLY:           Henry, can you just scroll

 10      down a few lines to the signature box.

 11            Q.     I see your name is misspelled there,

 12      but --

 13            A.     Yeah.

 14            Q.     -- to your knowledge, did you send this

 15      yourself, or did somebody else send this and

 16      misspell your name?

 17            A.     No, I sent that.               And I don't know why

 18      that was -- what had happened there.

 19            Q.     Okay.      Do you see the third paragraph

 20      from the bottom says, "True the Vote has assured

 21      me that the list is 99 percent likely" -- just a

 22      second.



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                                                                             Page 62
   1                  "True the Vote has assured me that the

   2     list they are challenging is 99 percent likely

   3     to be incorrectly registered."

   4                  Do you see that line?

   5           A.     [No audible response.]

   6           Q.     When did you receive this assurance?

   7           A.     Yeah, I don't recall.

   8           Q.     Who would that assurance have come

   9     from?

 10            A.     I don't recall.

 11            Q.     What was that assurance based on?

 12            A.     Their methodology that they used that

 13      they were likely to be incorrect.

 14                   MS. SIEBERT:            Jacob?

 15                   MR. SHELLY:           Yep.

 16                   MS. SIEBERT:            Could we take a

 17      one-minute break?             My dog needs to go outside

 18      and is driving me crazy.

 19                   MR. SHELLY:           Fine with me.

 20                   THE VIDEOGRAPHER:                The time is

 21      11:01 a.m.        Going off the record.

 22                      (Pause in the proceedings.)



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                                                                                 Page 63
   1                  THE VIDEOGRAPHER:                All right.          The time

   2     is 11:04 a.m.          We are back on the record.

   3                  MR. SHELLY:           Henry, can we pull up

   4     Exhibit G and mark it as Exhibit 7.

   5                             (Whereupon, Exhibit 7 was

   6                     marked for identification.)

   7                  THE WITNESS:            I'm having trouble

   8     hearing.

   9     BY MR. SHELLY:

 10            Q.     Sorry.       I asked for Exhibit G for Henry

 11      to pull up.

 12                   THE VIDEOGRAPHER:                Amy, can you hear

 13      us?

 14                   THE WITNESS:            I can't hear anything.

 15                   THE VIDEOGRAPHER:                You can't hear me at

 16      all right now?

 17                   I think the witness is having issues

 18      with her audio.           Should we go off the record?

 19                   MR. SHELLY:           Sure.

 20                   THE VIDEOGRAPHER:                All right.          The time

 21      is 11:05 a.m.          Going off the record.

 22                   (Discussion held off the record.)



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                                                                                 Page 64
   1                  THE VIDEOGRAPHER:                The time is

   2     11:07 a.m.        Going back on the record.

   3                  MR. SHELLY:           And I think where we left

   4     off, you had just pulled up Exhibit G to mark as

   5     Exhibit 7.

   6           Q.     This is a shorter -- I think maybe only

   7     two pages of emails, Ms. Holsworth.                          You're

   8     welcome to review, and then I'll ask you a few

   9     questions.

 10            A.     Okay.      Thank you.

 11                   Can you make it bigger.                    Yeah.     Thank

 12      you.

 13                   Okay.      All right.            Can you scroll down.

 14                   THE VIDEOGRAPHER:                So I see that this

 15      is just a one-page document.

 16                   MR. SHELLY:           Okay.       Yeah.

 17                   THE WITNESS:            All right.

 18                   MR. SHELLY:           Okay.       Can you scroll up

 19      to the first set of -- I'm looking at -- yeah,

 20      it's December 30 at 3:19 a.m. from

 21      Ms. Holsworth.

 22            Q.     It looks like, Ms. Holsworth, you asked



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                                                                             Page 65
   1     Ms. Engelbrecht about the elector challenge that

   2     was filed before the November election and

   3     denied.

   4                  Do you see that?

   5           A.     Yeah.

   6           Q.     What elector challenge was that

   7     referring to?

   8           A.     I don't recall.              This is the -- I

   9     probably meant the -- I don't recall.

 10            Q.     Well, sitting here today, what elector

 11      challenges are you familiar with that occurred

 12      before the November 2020 election?

 13            A.     That was probably -- I probably meant

 14      the January one.            It was written at 3:00 a.m.              I

 15      probably misspoke, because I don't recall any

 16      sitting here right now.

 17            Q.     Was True the Vote involved in any

 18      elector challenges before the November 2020

 19      election?

 20            A.     Not to my knowledge.

 21            Q.     Does it refresh your recollection if I

 22      told you there was a challenge in Fulton County



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                                                                             Page 66
   1     in around August or September 2020 that was

   2     denied?

   3           A.     That was probably when I first came

   4     onto the group, so I don't know how much

   5     knowledge I would have remembered about that or

   6     known.

   7           Q.     You're not sure if that's the challenge

   8     you're referring to in this email?

   9           A.     Right.       I don't recall.

 10                   MS. SIEBERT:            Jacob, what's the Bates

 11      number on this?           I'm sorry.           I missed it.

 12                   MR. SHELLY:           It should be at the

 13      bottom.

 14                   MS. SIEBERT:            Yeah, I just couldn't see

 15      it there.       Thank you.

 16      BY MR. SHELLY:

 17            Q.     So I quoted the first half of this

 18      sentence.       The second half says, "Do we have

 19      that list from the lawsuit?"

 20                   Are you familiar with any lawsuits that

 21      were filed related to challenges before the

 22      November 2020 election?



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                                                                             Page 67
   1           A.     I don't recall even what I'm referring

   2     to in this, honestly.                I don't recall.

   3           Q.     Okay.      Are you aware of any discussions

   4     among the Defendants in this case or other

   5     people affiliated with True the Vote about

   6     challenges in Georgia before the 2020 election?

   7           A.     I don't recall.

   8           Q.     Okay.      In this email do you see where

   9     you propose checking the list of previously

 10      challenged individuals against a list of people

 11      who voted in November?

 12            A.     Yes.

 13            Q.     How many fraudulent votes were

 14      identified by that cross-check?

 15            A.     You know, I don't recall.

 16            Q.     Do you know if that cross-check was

 17      performed?

 18            A.     I don't recall.              I don't know.

 19            Q.     Okay.      A couple questions about the

 20      series of emails at the bottom of this page.

 21            A.     Sure.

 22                   MR. SHELLY:           Yes.       Can you scroll down.



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                                                                                Page 68
   1                  Great.       Yeah, right there.                 Yeah,

   2     exactly.

   3           Q.     Do you see where Ms. Engelbrecht

   4     informs you that "As of yesterday approximately

   5     88,000 people on our challenge list have voted"?

   6                  See that at the very bottom?

   7                  THE WITNESS:            Can you scroll up a wee

   8     bit, please.

   9                  Thank you.

 10                   I'm sorry.          Can you scroll -- I don't

 11      see what you're referring to.

 12                   MR. SHELLY:           It's at the very bottom,

 13      the other direction.

 14                   THE WITNESS:            Yeah.       A little bit

 15      higher, please.           Do you mind?

 16                   THE VIDEOGRAPHER:                So that's the bottom

 17      of the page of emails.

 18                   THE WITNESS:            Where she says that

 19      Catherine wouldn't say that, is that what you --

 20      BY MR. SHELLY:

 21            Q.     I was asking about the next sentence,

 22      but that email, yes.



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                                                                             Page 69
   1           A.     Okay.

   2           Q.     So when she told you that approximately

   3     88K people on the challenge list have voted, you

   4     respond --

   5           A.     Yes.

   6           Q.     -- "Ugh."

   7                  Can you tell me what that suggested to

   8     you that people on the challenge list had voted?

   9           A.     I believe -- I'm trying to think.

 10                   I was referring to the -- no, I don't

 11      recall.      I don't know.

 12            Q.     And was it your understanding that all

 13      88,000 people had cast an unlawful vote?

 14            A.     No.

 15            Q.     Did you think there was possibly --

 16            A.     It was --

 17            Q.     Sorry.       Go ahead.

 18            A.     I'm sorry.

 19            Q.     Was it your understanding then that

 20      there -- that many of those 88,000 people were

 21      eligible to cast a vote?

 22            A.     It was my understanding that there was



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                                                                             Page 70
   1     an issue and that certain counties didn't check

   2     the challenge.          So -- I'm sorry.                Can you repeat

   3     the question.

   4           Q.     I believe I asked you if your

   5     understanding was that those 88,000 people on

   6     the challenge list who voted, if they all cast a

   7     vote unlawfully, and I heard you to say no.

   8                  And so I was asking you to confirm that

   9     your understanding, then, was that some of these

 10      people on the challenge list were eligible to

 11      vote.

 12            A.     My understanding was everybody on the

 13      challenge list had -- from their -- had some

 14      issue with their registration that should, you

 15      know -- that should be challenged.

 16            Q.     Are you aware of any efforts that were

 17      taken by True the Vote to confirm the

 18      eligibility of voters who were challenged and

 19      subsequently voted?

 20            A.     I'm sorry.          No, I'm not.

 21            Q.     In all of the counties where a

 22      challenge list was submitted and the challenge



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                                                                               Page 71
   1     was denied, how many instances of illegal voting

   2     by challenged voters are you aware?

   3           A.     I'm not aware -- I don't know.

   4           Q.     Did you just say that you're not aware

   5     of any instances of illegal --

   6           A.     I don't recall -- I don't recall any --

   7     I don't have any present recollection.

   8           Q.     Okay.      To make sure I understand what

   9     you're not recollecting --

 10            A.     Yeah.

 11            Q.     -- you do not remember any instances of

 12      illegal voting being confirmed for individuals

 13      who were challenged; is that correct?

 14            A.     I -- well, let me clarify.                      I believe

 15      there were some.            I just don't remember the

 16      number or who they were.

 17            Q.     Where did you hear about the some that

 18      you do remember?

 19            A.     I don't recall.

 20            Q.     Are you aware of anyone who researched

 21      that question?

 22            A.     I'm -- I don't know.



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                                                                             Page 72
   1                  MR. SHELLY:           Okay.       Can we pull up

   2     Exhibit H and mark it as Exhibit 8.

   3                             (Whereupon, Exhibit 8 was

   4                     marked for identification.)

   5                  THE WITNESS:            Okay.       Thank you.

   6     BY MR. SHELLY:

   7           Q.     Are you familiar with this document?

   8           A.     Yes.

   9           Q.     Can you describe what it is?

 10                   THE WITNESS:            Can you scroll back up to

 11      the...

 12                   I believe it's the -- it's a list of

 13      the counties that were challenged and the

 14      challengers that were sent out to the counties.

 15      BY MR. SHELLY:

 16            Q.     Did you create this document?

 17            A.     I don't recall if that's one of the

 18      ones I created --

 19            Q.     Who else could have --

 20            A.     -- if that's --

 21            Q.     Sorry?

 22            A.     Go ahead.



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                                                                                   Page 73
   1           Q.     Who else could have created this

   2     document besides you?

   3           A.     There was -- I can't remember her

   4     name -- a lady that had originally helped

   5     sending out the challenges to the -- that the

   6     county -- to the individual counties.                             She

   7     may -- I don't remember who created this

   8     specific document.

   9           Q.     Was this other person who assisted, was

 10      she an employee of True the Vote?

 11            A.     I don't know what her actual

 12      relationship was.             I don't know.

 13            Q.     How were you introduced to her?

 14            A.     She was someone who had been working --

 15      I believe she had done some emails -- their

 16      emails -- their website emails and things like

 17      that.

 18            Q.     Could this have been the Genevieve you

 19      mentioned earlier or somebody else?

 20            A.     No, not Genevieve.

 21                   There were so many.                 I can't remember

 22      the name off the top of my head.



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                                                                             Page 74
   1           Q.     And where would this document that

   2     we're looking at have been saved?

   3                  Was there like a common -- like a

   4     hardware drive for anyone that True the Vote

   5     could access, or did you save it on your

   6     personal computer or something else?

   7           A.     I don't know where that would have been

   8     saved.      I don't know.

   9           Q.     Who else would have access to a

 10      document like this?

 11            A.     Whoever it was shared with, I guess.

 12            Q.     Did I hear you say, "Whoever it would

 13      have been shared with"?

 14            A.     Yes.      If it were shared, I would

 15      assume.      So I don't know.

 16            Q.     Okay.      Who might you have shared this

 17      list with?

 18            A.     I don't recall who I did.

 19            Q.     So I see in Column M, there are several

 20      of these that say "done-ah."

 21                   Did you fill in that column?

 22            A.     Correct.



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                                                                               Page 75
   1           Q.     And did you fill in information in

   2     other columns?

   3           A.     I don't recall who generated this sheet

   4     to begin with, so I don't know.                       I may have.

   5           Q.     Can you explain the color coding to me?

   6                  If you can scroll down, because there's

   7     some various colors.               But here clearly there's

   8     some that are in green and some that are not

   9     something highlighted.                 As Henry scrolls down,

 10      there's some in yellow.                 There's some -- I don't

 11      know what you'd call that.                    Light brown?

 12                   So what would it mean if a row was

 13      highlighted in green?

 14                   THE WITNESS:            Scroll down.

 15                   Oh, the ones in green were the ones

 16      that had the -- all the correct, the photo ID

 17      number to send out, so it had all the

 18      information.

 19      BY MR. SHELLY:

 20            Q.     Okay.      And so when you added "done" and

 21      your initials in Column M, what had been done?

 22            A.     I don't recall.



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                                                                                   Page 76
   1           Q.     Could that have meant that you had sent

   2     a challenge list from that county to the county

   3     board?

   4           A.     Possibly.         I don't recall.

   5           Q.     And we saw some rows highlighted in

   6     yellow.

   7                  What would the yellow refer to?

   8           A.     I don't know what that would refer to.

   9           Q.     How about that -- I can't tell if it's

 10      pink or brown, but the "unorganized," what does

 11      "unorganized" mean?

 12            A.     I don't know.

 13            Q.     And how about the rows without any

 14      highlighting at all?

 15            A.     I don't know.

 16                   MR. SHELLY:           All right.           You can take

 17      this one down, Henry.

 18                   I am nearing the end.                   How about we

 19      take one more break where I can check over my

 20      notes.      Maybe meet back in five minutes?

 21                   THE VIDEOGRAPHER:                All righty.         The

 22      time is 11:28 a.m.             Going off the record.



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                                                                                 Page 77
   1                               (Recess taken.)

   2                  THE VIDEOGRAPHER:                All right.          The time

   3     is 11:42 a.m.          We are back on the record.

   4                  MR. SHELLY:           Thank you.

   5           Q.     The last thing I would like to do,

   6     Ms. Holsworth is just go through some of the

   7     questions I asked that you didn't recall to see

   8     if our discussion over the past almost three

   9     hours now has refreshed your recollection for

 10      any of these.

 11            A.     Okay.

 12            Q.     Can you tell me do you recall now if

 13      there was any reason given for why the Georgia

 14      hotline was created?

 15            A.     No.     I don't recall.

 16            Q.     And do you know who staffs the hotline?

 17            A.     No.     I don't recall.

 18            Q.     Were there any reports from the hotline

 19      that were confirmed to be unlawful voting?

 20            A.     I don't recall.

 21            Q.     Do you know what happened when you

 22      passed along reports that came on the hotline to



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                                                                                 Page 78
   1     Ms. Engelbrecht?

   2           A.     I don't -- I don't know.                     I don't

   3     recall.

   4           Q.     Do you know why the compensation fund

   5     was created, given that the hotline was already

   6     receiving thousands of calls?

   7           A.     I don't.         I don't recall.

   8           Q.     And how about the name of the donor who

   9     funded the compensation fund?

 10            A.     No, I don't.            I don't recall.

 11            Q.     Do you know how the compensation fund

 12      or hotline were advertised?

 13            A.     I do know it was -- I do recall in the

 14      newsletter and I believe possibly on their

 15      Facebook page.          I do recall that.                 And maybe

 16      their social media.

 17            Q.     Great.       Thank you.

 18                   Did reports of illegal activity

 19      increase after the compensation fund was

 20      established and advertised?

 21            A.     I believe calls in general increased.

 22            Q.     And can you recall any instances of



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                                                                               Page 79
   1     election fraud, manipulation or illegal action

   2     after the compensation fund was established?

   3           A.     I don't recall.

   4           Q.     And do you recall now whether anyone

   5     requested a payout from the fund?

   6           A.     I don't know if anyone did.

   7           Q.     And presumably, then, you don't know if

   8     any payouts were made?

   9           A.     I don't know.

 10            Q.     Do you remember when the challenge list

 11      was first discussed and, more specifically,

 12      whether it was discussed before or after the

 13      November 2020 elections?

 14            A.     I don't recall.

 15            Q.     Do you know who reviewed the county

 16      challenge lists?

 17            A.     I don't -- I don't know.                     I don't

 18      recall.

 19            Q.     Do you remember now who Ms. Cathy

 20      Latham is?

 21            A.     Not -- no, I don't recall.                      Not

 22      specifically, no.



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                                                                             Page 80
   1           Q.     And do you know what her role was with

   2     the Georgia challenge lists?

   3           A.     I don't know.

   4           Q.     Do you know how you were introduced to

   5     her?

   6           A.     I don't recall.

   7           Q.     Do you know why challenge lists were

   8     provided to Ms. Latham for approval?

   9           A.     I don't recall.

 10            Q.     Do you know why the file that you

 11      emailed was titled "GA Challenge List Approved

 12      as Per Cathy Latham"?

 13            A.     I don't recall.

 14            Q.     Did anyone else review challenge lists

 15      besides Ms. Latham?

 16            A.     Any -- I -- I don't -- I'm trying to

 17      remember at the -- I don't recall.

 18            Q.     How many people volunteered to be

 19      challengers before you solicited additional

 20      assistance?

 21            A.     I don't recall.

 22            Q.     And do you know what prompted people to



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                                                                             Page 81
   1     volunteer?

   2           A.     I can't recall.

   3           Q.     You mentioned that, in addition to the

   4     volunteers who called in, you affirmatively

   5     reached out to people.

   6                  Do you know where those suggestions of

   7     people to reach out to came from?

   8           A.     They did -- I think they -- yeah, they

   9     came from -- I think Cathy Latham is who they

 10      came from.

 11            Q.     Okay.      And did you reach out to all of

 12      the individuals that she recommended?

 13            A.     I don't -- I don't think -- me

 14      personally, I did not, no.

 15            Q.     Did you or do you know if anyone else

 16      at True the Vote did any screening of the names

 17      that were recommended to learn more about those

 18      individuals?

 19            A.     I don't have any knowledge of what

 20      True the Vote would have done on their end.                       So

 21      I don't know.

 22            Q.     Do you know how many people were on the



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                                                                               Page 82
   1     list that Ms. Latham suggested?

   2           A.     I don't recall.

   3           Q.     And how about when you reached out to

   4     those potential volunteers?

   5           A.     I don't -- I don't know.                     I don't

   6     recall.

   7           Q.     You said that you -- you told me that

   8     there was at least one individual who initially

   9     agreed to be a challenger and then changed their

 10      mind.

 11                   Do you remember now what that person

 12      communicated to you?

 13            A.     Not off -- no, I don't recall.

 14            Q.     Do you remember what county that person

 15      was from?

 16            A.     No, sir.

 17            Q.     Were they concerned about the

 18      methodology?

 19            A.     I don't recall what their concern was.

 20            Q.     Did you send the challenge lists, the

 21      names of the people who would be challenged, to

 22      everyone who was going to be a challenger when



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                                                                              Page 83
   1     they first signed up, or did you only send a

   2     list of challenged names to people who requested

   3     them?

   4           A.     I don't recall the process.

   5           Q.     Do you remember now who else had he

   6     access to the gaelectorchallenge@truethevote.org

   7     email account?

   8           A.     Off the top of my -- I don't remember

   9     her name, who the contractor was -- or whoever

 10      it was -- in New Jersey.                  I just remember I

 11      think she was from New Jersey.

 12            Q.     Okay.      This was a person who could also

 13      read and send emails from the account?

 14            A.     Yeah, I believe when it started.                     And

 15      then I think Ms. Kramer could at some point read

 16      and send things, but I don't think she -- yeah.

 17            Q.     In addition to you and potentially this

 18      woman from New Jersey, how many other

 19      contractors did True the Vote have during the

 20      time that you worked with them?

 21            A.     I don't know.

 22            Q.     Are you aware of any others?



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                                                                             Page 84
   1           A.     Just -- I know the person doing the

   2     comms, and I know that they had some volunteers.

   3     I don't recall.

   4           Q.     I believe you mentioned someone by the

   5     name of Genevieve did comms.

   6                  Was she a contractor as well?

   7           A.     For some time -- for a while, I

   8     believe.

   9           Q.     Okay.      Did you continue to submit

 10      challenges to county boards after previous

 11      challenges had been denied?

 12            A.     I don't recall.

 13            Q.     Who did you communicate with on a

 14      day-do-day basis when you were with True the

 15      Vote?

 16            A.     I don't think we would communicate

 17      anything.       Catherine or -- yeah, mostly

 18      Catherine and then the lady in New Jersey and

 19      then -- sorry -- and then some volunteers for

 20      other things.

 21            Q.     We looked at an email that you sent to

 22      potential challengers.                 You told me that you and



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                                                                             Page 85
   1     Mr. Cooper each sent some to some challengers.

   2                  Do you remember now how many people you

   3     sent that email to?

   4           A.     No, sir, I don't recall.

   5           Q.     We looked at the line where True the

   6     Vote assured you that the list was 99 percent --

   7     that the people on the challenge list were

   8     99 percent likely to be incorrectly registered.

   9                  Do you remember now when you received

 10      this assurance?

 11            A.     Yeah.      I remember that at one point

 12      Catherine had me on conference -- a Zoom meeting

 13      of some sort with the people that were doing her

 14      data -- I don't remember the actual names -- and

 15      they went through and explained the process by

 16      which they were doing and the confidence at

 17      which they had in the data, and they were

 18      confident that it was correct.

 19            Q.     And did you communicate with Mark

 20      Davis?

 21            A.     The printer?            Mark Davis --

 22            Q.     I believe Mark Williams was the



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                                                                                 Page 86
   1     printer, and there was another Mark who was

   2     involved named Mark Davis.

   3           A.     I don't -- I don't recall specifically

   4     who a Mark Davis would be.

   5           Q.     How about Derek Somerville?

   6           A.     I don't -- possibly.                  I don't remember

   7     who that would be.             I don't recall.

   8           Q.     We looked at an email that referenced

   9     election challenges that were filed before the

 10      November election and denied.

 11                   Do you have any election now about

 12      which challenges that was referring to?

 13            A.     I don't.         I can't recall.

 14            Q.     Are you aware of any discussions among

 15      Defendants in this case or other people

 16      affiliated with True the Vote about challenges

 17      before the 2020 election?

 18            A.     I don't recall.

 19            Q.     Did you work on any voter challenges

 20      before the 2020 election?

 21            A.     Before the 2020 election?                      I don't

 22      recall if I did or not.



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                                                                             Page 87
   1           Q.     There was an email that referred to a

   2     cross-check of individuals who had been

   3     challenged before the November election and then

   4     voted.

   5                  Is it still the case that you do not

   6     remember any such cross-check confirming that

   7     any of those voters voted unlawfully?

   8           A.     I'm sorry.          Can you repeat the

   9     question.

 10            Q.     Do you recall the email that we looked

 11      at where you suggested checking --

 12      cross-checking the list of people who had been

 13      challenged against the people who had voted?

 14            A.     Uh-huh.

 15            Q.     And am I correct that you do not recall

 16      any -- that that cross-check identified any

 17      people who voted unlawfully?

 18            A.     I don't recall.

 19            Q.     And do you know if that cross-check was

 20      performed?

 21            A.     Can I see what -- can I put my dog in

 22      the -- she's -- there's an issue.



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                                                                                Page 88
   1           Q.     Okay.

   2           A.     Do you mind?

   3           Q.     No, that's fine.

   4                     (Pause in the proceedings.)

   5                  THE WITNESS:            Can you hear me?             I don't

   6     know what's going on there.

   7                  MR. SHELLY:           Yeah.       We're almost done

   8     here.

   9                  THE WITNESS:            Can I just have a

 10      break -- one more break real quick?                          Just five

 11      minutes?       Do you mind?

 12                   MR. SHELLY:           All right.           That's fine.

 13                   THE WITNESS:            Okay.

 14                   THE VIDEOGRAPHER:                The time is

 15      11:57 a.m.        Off the record.

 16                                (Recess taken.)

 17                   THE VIDEOGRAPHER:                All right the time

 18      is 12:02 p.m.          We are back on the record.

 19      BY MR. SHELLY:

 20            Q.     Ms. Holsworth, do you still not recall

 21      any instances in counties where challenges were

 22      submitted and denied of any instances where



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                                                                             Page 89
   1     illegal voting was identified by True the Vote?

   2           A.     I don't recall.

   3           Q.     Do you recall the last document we

   4     looked at with the -- it was a spreadsheet of

   5     potential volunteers?

   6           A.     Yes, sir.

   7           Q.     Do you recall now who created that

   8     document?

   9           A.     I do -- I think it was -- I don't

 10      recall who.

 11            Q.     Do you know who that list might have --

 12      that spreadsheet might have been shared with?

 13            A.     I don't recall.

 14            Q.     Then we looked at that -- I believe it

 15      was Column M and the work done and your

 16      initials, do you know what that signified?

 17            A.     I believe it was challenges that had

 18      been sent.

 19            Q.     And do you remember what the color

 20      coding referred to?

 21            A.     I don't, no.

 22                   MR. SHELLY:           Okay.       I appreciate your



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                                                                             Page 90
   1     time this morning and everybody's patience.

   2     That's all that I've got for you today.

   3                  THE WITNESS:            Okay.

   4                  MS. SIEBERT:            I have just a couple

   5     quick follow-ups.

   6                  Does anyone need another break?

   7                  (Discussion held off the record.)

   8

   9                                   EXAMINATION

 10      BY MS. SIEBERT:

 11            Q.     Amy, there was a line of questioning

 12      regarding donor funding for the compensation

 13      fund.

 14            A.     Yeah.

 15            Q.     And I believe that you testified you

 16      didn't know much about who the donor was; is

 17      that correct?

 18            A.     Correct.

 19            Q.     Were you privy to any of the

 20      conversations or -- with donors?                        Were you part

 21      of any of those conversations?

 22            A.     I've not spoken directly to the -- I



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                                                                             Page 91
   1     have not spoken to the donors, yeah.

   2           Q.     I'm sorry.          Can you repeat that one

   3     more time.

   4           A.     I'm sorry.          No, I did not speak

   5     directly to donors.

   6           Q.     Okay.      And you weren't part of any

   7     conversation that anybody else was speaking --

   8     were you part of any conversation that anybody

   9     else was speaking to a donor that you know of?

 10            A.     That I know of -- there was, I believe,

 11      a conversation with somebody that we -- well, I

 12      don't know who -- I'm going to say I don't know,

 13      because I don't -- there was a meeting with, I

 14      think, a representative of him that I was

 15      attending, but I've never met the donor or

 16      spoken to him.

 17            Q.     And you don't recall that donor's name?

 18            A.     I don't off the top of my head, no,

 19      ma'am.

 20            Q.     Okay.      Thank you.

 21                   And then I know you've testified that

 22      you don't recall who Cathy Latham was, but I



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                                                                             Page 92
   1     believe in some follow-up that you indicated

   2     that -- can you clarify what you know about

   3     Cathy Latham.

   4           A.     What I recall is it's somebody who I

   5     believe Catherine had met on the ground in

   6     Georgia who was a name that -- that I was

   7     connected with through that.                     But I don't know

   8     her -- I don't know her relationship to her or

   9     how she --

 10            Q.     Are you familiar professionally with

 11      anyone in Georgia?

 12            A.     No, ma'am.

 13            Q.     Okay.      Mr. Shelly had asked in his

 14      follow-up questions toward the end if you

 15      recalled any instances after the challenges were

 16      submitted where there were instances of illegal

 17      voting, and I believe you testified that you

 18      didn't recall; is that correct?

 19            A.     That is correct.               I --

 20            Q.     Okay.

 21            A.     I --

 22            Q.     Okay.      I'd like to just clarify



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                                                                             Page 93
   1     something if you wouldn't mind.

   2           A.     Okay.

   3           Q.     When you say you don't recall any

   4     instances of illegal voting, is it that -- it's

   5     an either/or:          Is it you just don't recall

   6     whether there were instances of illegal voting

   7     or not, or you don't recall any follow-up about

   8     that at all?

   9           A.     Well, I don't -- well, I was not

 10      keeping aware of the follow-up of what happened

 11      after that, after I, you know, did my part,

 12      which is what I was contracted to do, to do the

 13      work in that.          When I was no longer with

 14      True the Vote, I honestly did not keep track of

 15      what the results of those challenges were,

 16      because I'd moved on to other things.

 17            Q.     Sure.      Okay.        Thank you.

 18            A.     Yes.

 19            Q.     Okay.      The only other -- there was a

 20      December 30 email exchange, and I don't have the

 21      exhibit number -- I'm guessing it might have

 22      been Exhibit G -- where -- it was that 3:30 a.m.



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                                                                               Page 94
   1     email --

   2           A.     Uh-huh, yeah.

   3           Q.     -- where you referred to the elector

   4     challenge of the November election.                          I want to

   5     clarify -- because I recall you testifying that

   6     you likely, because of the time, misspoke and

   7     you were referring to the January election.                         But

   8     I don't want to put words in your mouth, so I

   9     just wanted to clarify what your recollection of

 10      that was.

 11            A.     Yeah, my recollection -- I don't recall

 12      what I was -- I don't recall what that was

 13      about.      I don't know.

 14            Q.     Okay.      That's fair.

 15            A.     I don't know.

 16            Q.     Thank you.

 17                   That's all I have.

 18                   MR. SHELLY:           I don't have anything

 19      further.

 20                   THE VIDEOGRAPHER:                Okay.       Should I go

 21      off the record?

 22                   MR. SHELLY:           Yes.



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                                                                             Page 95
   1                  THE VIDEOGRAPHER:                Please stand by.

   2                  This marks the end of today's

   3     deposition.         The time is 12:10 p.m.

   4                             (At 12:10 p.m. CST the

   5                     deposition of AMY HOLSWORTH was

   6                     adjourned.)

   7

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                                                                             Page 96
  1     STATE OF CALIFORNIA                       )
  2     COUNTY OF LOS ANGELES                     )    SS.
  3
  4               I, AUDRA E. CRAMER, CSR No. 9901, in and for the
        State of California, do hereby certify:
  5               That, prior to being examined, the witness named
        in the foregoing deposition was by me duly sworn to
  6     testify the truth, the whole truth and nothing but the
        truth;
  7               That said deposition was taken down by me in
        shorthand at the time and place therein named, and
  8     thereafter reduced to typewriting under my direction,
        and the same is a true, correct and complete transcript
  9     of said proceedings;
                  I further certify that I am not interested in the
 10     event of the action.
                  Witness my hand this 25th day of January, 2022.
 11
 12
 13
 14
 15
 16
 17
 18                                           _____________________
 19                                           Certified Shorthand
 20                                           Reporter for the
 21                                           State of California
 22



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                                                                             Page 97
  1           Amy Holsworth, c/o

              THE BOPP LAW FIRM

  2           1 South Sixth Street

              Terre Haute, Indiana         47807-3510

  3

  4           Case: Fair Fight, Inc. et al. v. True the Vote, et al.

              Date of deposition: January 12, 2022

  5           Deponent: Amy Holsworth

  6

  7           Please be advised that the transcript in the above

  8           referenced matter is now complete and ready for signature.

  9           The deponent may come to this office to sign the transcript,

 10           a copy may be purchased for the witness to review and sign,

 11           or the deponent and/or counsel may waive the option of

 12           signing. Please advise us of the option selected.

 13           Please forward the errata sheet and the original signed

 14           signature page to counsel noticing the deposition, noting the

 15           applicable time period allowed for such by the governing

              Rules of Procedure. If you have any questions, please do

 16           not hesitate to call our office at (202)-232-0646.

 17

 18

 19           Sincerely,

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  3
  4             SIGNATURE PAGE
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  5             Witness Name: Amy Holsworth
                Deposition Date: January 12, 2022
  6
  7             I do hereby acknowledge that I have read
                and examined the foregoing pages
  8             of the transcript of my deposition and that:
  9
 10             (Check appropriate box):
                (    ) The same is a true, correct and
 11             complete transcription of the answers given by
                me to the questions therein recorded.
 12             (   ) Except for the changes noted in the
                attached Errata Sheet, the same is a true,
 13             correct and complete transcription of the
                answers given by me to the questions therein
 14             recorded.
 15
 16
 17
 18             _____________                        _________________________
 19                 DATE                                WITNESS SIGNATURE
 20
 21             _____________                        __________________________
 22                 DATE                                      NOTARY



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  6                                          ERRATA SHEET

  7

  8             Case: Fair Fight, Inc. et al. v. True the Vote, et al.

  9             Witness Name: Amy Holsworth

 10             Deposition Date: January 12, 2022

 11             Page No.        Line No.              Change

 12

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 21            ___________________________                         _____________

 22            Signature                                              Date



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